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KEVIN KAMENETZ eee MICHAEL E. FIELD, County Attorney
County Executive Office of Law

February 28, 2017

The Honorable Catherine C. Blake
Chief Judge, United States District Court
For the District of Maryland

Garmatz Federal Courthouse

101 W. Lombard Street

Baltimore, Maryland 21201

Re: Heather Flanary v. Baltimore County, Maryland
Case No.: 16-CV-03422 CCB

Dear Judge Blake:

This is to provide the Court with further authority in support of the County's
Opposition to Plaintiffs Motion for Preliminary Injunction and its Memorandum in
Support of Summary Judgment. In its papers the County has cited numerous cases
from around the country which support the police department’s reasonable actions
in this case.

The essential thread of these holdings is that police departments are entitled
to take reasonable preventative measures in order to ensure — as best as possible —
that officers are fit to perform their dangerous duties. “Especially in the context of
police officers, employers do not violate the ADA by ensuring that officers are fit
for duty.” Davis—Durnil v. Vill. of Carpentersville, 128 F.Supp.2d 575, 580
(N.D.Il.2001)). “The ADA does not, indeed cannot, require a police department to
forgo a fitness for duty examination or to wait until a perceived threat becomes real
or questionable behavior results in injuries.” Owusu-Ansah v. Coca-Cola Co., 715
F.3d 1306, 1311 (11th Cir. 2013) (emphasis added), quoting, Watson v. City of
Miami Beach, 177 F.3d 932, 935 (11th Cir.1999), “Because police officers encounter
extremely stressful and dangerous situations during the course of their work, and
police departments place armed officers in positions where they can do tremendous
harm if they act irrationally, ensuring members’ fitness for duty is a business
necessity vital to the operation of police departments.” Diaz v. City of Philadelphia,
2012 WL 1657866 *11 (E.D. Pa. 2012), citing, Watson, supra, and Pennsylvania

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State Troopers Ass’n v. Miller, 621 F.Supp.2d 246, 256 (M.D.Pa. 2008)). See also,
Coffman v. Indianapolis Fire Dep't, 578 F.3d 559, 565 (7th Cir.2009) (business
necessity for fire department to send firefighter for psychological evaluation);
Conroy v. New York State Dep't of Corr. Servs., 333 F.3d 88, 99-100 (2d Cir.2003)
(correctional facility); Brownfield v. City of Yakima, 612 F.3d 1140, 1146-47 (9th
Cir.2010) (police department); Thomas v. Corwin, 483 F.3d 516, 527 (8th Cir.2007)
(juvenile unit of police department). “In these ‘public safety’ workplaces, an
employer may be justified in requesting a psychological exam on slighter evidence
than in other types of workplaces because employees are in positions where they can
do tremendous harm if they act irrationally, and thus they pose a greater threat to
themselves and others.” Kroll v. White Lake Ambulance Auth., 763 F.3d 619, 626
(6th Cir.2014); see also, Coleman v. D.C., 794 F.3d 49, 73 (D.C. Cir, 2015) (police
department).

Further, as in the instant case, where a police department is on actual notice
that an officer is experiencing serious psychological stress, the department can take
reasonable preventative measures even if the officer’s job performance has not yet
been impacted. “Common sense suggests that an employer should not have to wait
for an accident to occur to justify taking preventative steps.” Leonard v. Electro-
Mechanical Corp., 36 F.Supp. 3d 679, 687 (W.D. Va. 2014) (emphasis added). As
the Sixth Circuit recently explained,

Indeed, in many cases, the question whether one doctor is
right that an employee can safely perform his job
functions, or another doctor is right that the employee
cannot, will be unknowable—unless the employer runs the
very risk that the law seeks to prevent. Here, the City was
not required to invite a section 1983 claim later in order
to avoid an ADA claim now. Right or wrong, the opinions
upon which the City relied were objectively reasonable;
and that means the City is not liable.

Michael v. City of Troy Police Dep't, 808 F.3d 304, 309 (6" Cir. 2015) (emphasis
added).

Further, contrary to plaintiff's unsupported assertions, employers can require
employees to comply with mandatory treatment as a condition of employment
without violating the A.D.A. For example, this is a common practice when
employers are dealing with employees with drug and alcohol problems — conditions
that are protected disabilities under the A.D.A. See, e.g., Chamberlain v. Securian

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Financial Group, Inc, 180 F. Supp. 3d 381, 401-402 (W.D.N.C. 2016) (employer
did not violate A.D.A. by requiring recovering alcoholic to verify he was in
treatment and attending Alcoholics Anonymous meetings).

And the threat of Sec. 1983 liability discussed by the Sixth Circuit in the Troy
case, supra, is real. A recent suit involving a diabetic Philadelphia police officer is
instructive. There the Philadelphia police department was on notice that one of its
officers, who was a Type | diabetic, had experienced a number of hypoglycemic
events which caused him to exhibit strange behaviors. Washington-Pope v. City of
Philadelphia, 2015 WL 7450522 *1-3 (E.D. Pa. 2015). Asa result of these incidents
the officer was send to the department’s employee medical services for a fitness for
duty evaluation. The department’s doctor instructed the officer to see an
endocrinologist in order to get his diabetes under control. However,

Officer Bailey was nevertheless allowed by Dr. Hayes and
Employee Medical Services to return to duty and, ultimately,
Officer Bailey did not see any specialist prior to the incident in
question. Prior to the night of September 24, 2010, Officer Bailey
was never required by the department, as a condition of his
continued employment, to see a specialist to help him manage
his diabetes.

Td. at 3.

Then, on the night of September 24, 2010, while out on routine patrol with his
partner, Officer Bailey suffered another bout of hypoglycemia and he pulled his
service weapon and pointed it at his partner’s head while they were sitting side by
side in their patrol car. His partner, Officer Washington-Pope was understandably
terrified and subsequently developed PTSD. She later brought a Monell claim
against the City of Philadelphia, claiming that the police department was deliberately
indifferent to her substantive due process rights because it had a custom, policy or
practice of failing to require diabetic officers to get the treatment necessary to
manage their condition. One of plaintiff’s experts, an assistant professor at Harvard
Medical School, offered the unrebutted opinion that

[p]olicies should have been in place to require Officer Bailey to
relinquish his firearm and/or require his suspension from the
police force if he declined to follow through with his treatment
instructions, take medications prescribed, or in any way
contribute to the lack of care of his diabetes.

Id. *14.

 
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After a thorough review of the controlling Supreme Court precedents the
District Court found that the plaintiff had proffered sufficient evidence upon which
a jury could find that the City of Philadelphia’s failure to ensure that officers
received proper treatment for their diabetes constituted an official policy of
deliberate indifference to the rights of the plaintiff and others similarly situated —
including the public. Jd. *17. In reaching its holding the District Court reasoned that

[T]he department command staff was aware that individuals with
uncontrolled diabetes could act erratically or violently. The
record also contains evidence that tends to show that the
department command structure was aware of the fact that Officer
Bailey was experiencing serious on-duty hypoglycemic
breakdowns. Despite this acknowledged danger, the department
failed to require its officers [to] seek medical care to bring their
diabetes under control. The Court finds that the Plaintiff has
raised an issue of material fact as to whether the department was
acting with deliberate indifference to the risks that an officer with
uncontrolled diabetes would cause.

Id. *20.

First, it is noteworthy that nowhere in this thoughtful opinion does the District
Court even hint that the A.D.A. would bar the City from insisting that its officers
receive prescribed medical treatment as a condition of employment. Second, this
case starkly illustrates the dilemma described by the Sixth Circuit in Michael v. City
of Troy Police Dep’t., supra. In sum, these cases stand for the proposition that
Congress did not intend for municipalities to have to run the risk of incurring Sec.
1983 liability in order to avoid potential A.D.A. liability.

In the instant case it is undisputed that Officer Flanary testified to substantial
and continuing PTSD symptoms in the summer of 2015 — two years after the
shooting incident she was involved in. Once Chief Johnson was made aware of these
continuing symptoms he believed it was incumbent on him to refer Flanary to see
the departmental psychologist. He then felt that he must follow the doctor’s
professional medical advice — that Flanary needed to get back into therapy if she was
to remain on patrol duty. From there the department has tried at every turn to make
this mandatory treatment as unintrusive as possible and has taken pains to insure that
Flanary’s privacy would be protected.

Had Flanary simply abided by these reasonable and lawful directives she
would never have been taken off patrol duty. Instead Flanary has filed suit in state

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and federal court, insisting that she, and she alone, will decide whether she gets the
prescribed treatment. Flanary’s position - which was also espoused by her hired, out-
of-state psychologist — is that a police department can never compel an officer to
receive psychological treatment, and that Flanary’s psychological status is none of
the police department’s business.

Flanary will no doubt again argue that her performance had been fine,
notwithstanding these continuing PTSD symptoms. But this does not change the fact
that Chief Johnson was on actual notice, based on Flanary’s own testimony and the
report of her own forensic psychiatrist, Dr. Sheehan, that she was currently suffering
from serious PTSD symptoms in the summer of 2015, Indeed, like Dr. DeBernardo,
Dr. Sheehan also recommended that Flanary get back into treatment.

As the cases above demonstrate, the A.D.A. did not require the County to
simply ignore this information and hope for the best. In the event that Flanary did
become involved in another shooting incident, or other alleged use of excessive
force, the County would certainly be subject to potential Monell liability when
discovery revealed that the police department was on notice of Flanary’s continuing
PTSD and did nothing about it.

The County thanks the Court for its further consideration of these issues. It
is respectfully submitted that the motion for preliminary injunction should be
denied, and that summary judgment should be granted in favor of the defendants.'

Very truly yours,
/s/

Paul M. Mayhew
Assistant County Attorney

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1 On February 27, 2017 the Court of Special Appeals filed an unreported opinion in which it
affirmed Judge Nagle’s denial of Flanary’s request for a preliminary injunction.

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